        Case 1:21-cv-03793-TWT Document 1 Filed 09/14/21 Page 1 of 12




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

ALEXANDER CORDERO,                    )
                                      )
      Plaintiff,                      )
                                      )       CIVIL ACTION
v.                                    )
                                      )       FILE No. _____________________
SANA GROUP INC.,                      )
                                      )
      Defendant.                      )

                                  COMPLAINT

      COMES NOW, ALEXANDER CORDERO, by and through the

undersigned counsel, and files this, his Complaint against Defendant SANA

GROUP INC. pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181

et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36

(“ADAAG”). In support thereof, Plaintiff respectfully shows this Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.     Venue is proper in the federal District Court for the Northern District


                                          1
         Case 1:21-cv-03793-TWT Document 1 Filed 09/14/21 Page 2 of 12




of Georgia, Atlanta Division.

                                     PARTIES

       3.     Plaintiff ALEXANDER CORDERO (hereinafter “Plaintiff”) is, and

has been at all times relevant to the instant matter, a natural person residing in

Lawrenceville, Georgia (Gwinnett County).

       4.     Plaintiff is a paraplegic and is disabled as defined by the ADA.

       5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking and standing.

       6.     Plaintiff cannot walk and uses a wheelchair for mobility purposes.

       7.     Defendant SANA GROUP INC. (hereinafter “Defendant”) is a

Georgia corporation that transacts business in the state of Georgia and within this

judicial district.

       8.     Defendant may be properly served with process via its registered

agent for service, to wit: Rahman Habibur, 3301 Buckeye Road, Suite 209,

Atlanta, Georgia, 30341.

                            FACTUAL ALLEGATIONS

       9.     On or about August 26, 2021, Plaintiff was a customer at “Citgo Big

H,” a business located at 2505 Old Norcross Road, Unit A, Lawrenceville, Georgia


                                          2
         Case 1:21-cv-03793-TWT Document 1 Filed 09/14/21 Page 3 of 12




30044.

      10.    Defendant is the owner of the real property and improvements that are

the subject of this action, and upon and within which Citgo Big H operates. (The

contiguous multi-tenant structure and improvements situated upon said real

property shall be referenced herein as the “Facility,” and said real property shall be

referenced herein as the “Property”).

      11.    Plaintiff lives approximately eight (8) miles from the Facility and

Property, and he regularly travels in the near vicinity of the Facility and Property.

      12.    Plaintiff’s access to the business(es) located at 2505 Old Norcross

Road, Lawrenceville, Georgia 30044 (Gwinnett County Property Appraiser’s

parcel number R7038 056), and/or full and equal enjoyment of the goods, services,

foods, drinks, facilities, privileges, advantages and/or accommodations offered

therein were denied and/or limited because of his disabilities, and he will be denied

and/or limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Facility

and Property, including those set forth in this Complaint.

      13.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.


                                          3
        Case 1:21-cv-03793-TWT Document 1 Filed 09/14/21 Page 4 of 12




      14.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      15.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to his access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    The Facility is a public accommodation and service establishment.

      20.    The Property is a public accommodation and service establishment.

      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

                                           4
        Case 1:21-cv-03793-TWT Document 1 Filed 09/14/21 Page 5 of 12




regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,


                                          5
        Case 1:21-cv-03793-TWT Document 1 Filed 09/14/21 Page 6 of 12




conditions and ADA violations more specifically set forth in this Complaint.

      27.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of his

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      29.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by


                                           6
           Case 1:21-cv-03793-TWT Document 1 Filed 09/14/21 Page 7 of 12




Plaintiff and other persons with disabilities.

      30.      A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

     (a)       EXTERIOR ELEMENTS:

     (i)       The access aisle adjacent to the accessible parking space on the

               Property is not level due to the presence of a ramp and handrails

               within the boundaries of said access aisle, in violation of

               section 502.4 of the 2010 ADAAG standards. Said ramp also

               protrudes into the boundaries of the adjacent accessible parking

               spaces, in violation of section 502.4 of the 2010 ADAAG

               standards.

     (ii)      Due to an ice chest that blocks portions of the accessible route,

               the Property lacks an accessible route from the accessible

               parking spaces to the accessible entrances of Suites D, E and F

               of Facility, in violation of sections 206.2.1 and 403.5.1 of the

               2010 ADAAG standards.


                                           7
  Case 1:21-cv-03793-TWT Document 1 Filed 09/14/21 Page 8 of 12




(b)     INTERIOR ELEMENTS:

(i)     The interior of the Citgo portion of the Facility has a sales and

        service counter lacking any portion of which that has a

        maximum height of 36” (thirty-six inches) from the finished

        floor, in violation of section 904.4 of the 2010 ADAAG

        standards.

(ii)    The hardware on the restroom door in the Facility has operable

        parts that require tight grasping, pinching or twisting of the

        wrist, in violation of section 309.4 of the 2010 ADAAG

        standards.

(iii)   The sliding lock on the door to restroom in the Citgo portion of

        the Facility is located above the minimum reach range

        permitted under section 308.2.1 of the 2010 ADAAG standards.

(i)     There is inadequate clear turning space in the restroom in the

        Citgo portion of the Facility, in violation of section 603.2.1 of

        the 2010 ADAAG standards.

(ii)    The sink in the restroom in the Citgo portion of the Facility has

        exposed pipes and surfaces that are not insulated or configured

        to protect against contact with the skin, in violation of section


                                    8
        Case 1:21-cv-03793-TWT Document 1 Filed 09/14/21 Page 9 of 12




              606.5 of the 2010 ADAAG standards.

      (iii)   The hand operated flush controls on the commode in the

              restroom in the Citgo portion of the Facility is not located on

              the open side of the accessible stalls, in violation of section

              604.6 of the 2010 ADAAG standards.

      (iv)    The soap dispenser in the restroom in the Facility is located

              above the minimum reach range permitted under section

              308.2.1 of the 2010 ADAAG standards.

      31.     Without limitation, the above-described violations of the ADAAG

rendered the accessible parking spaces on the Property inaccessible to Plaintiff,

made it more difficult for Plaintiff to conduct his business within the Citgo portion

of the Facility, and made it more difficult for Plaintiff to utilize all features of the

restroom in the Citgo portion of the Facility.

      32.     The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      33.     Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.


                                           9
       Case 1:21-cv-03793-TWT Document 1 Filed 09/14/21 Page 10 of 12




      34.   The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      35.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      36.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      37.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      38.   In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      39.   Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous


                                         10
       Case 1:21-cv-03793-TWT Document 1 Filed 09/14/21 Page 11 of 12




conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      40.    Plaintiff’s requested relief serves the public interest.

      41.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      42.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      43.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant in violation of the ADA and ADAAG;

      (b)    That the Court issue a permanent injunction enjoining Defendant from

             continuing its discriminatory practices;

      (c)    That the Court issue an Order requiring Defendant to (i) remove the

             physical barriers to access and (ii) alter the subject Facility and

             Property to make them readily accessible to, and useable by,

             individuals with disabilities to the extent required by the ADA;

      (d)    That the Court award Plaintiff’s counsel reasonable attorneys' fees,


                                          11
       Case 1:21-cv-03793-TWT Document 1 Filed 09/14/21 Page 12 of 12




             litigation expenses and costs; and

      (e)    That the Court grant such further relief as deemed just and equitable

             in light of the circumstances.

                                       Dated: September 14, 2021.

                                       Respectfully submitted,

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich
                                       Georgia Bar No. 242240
                                       The Law Office of Craig J. Ehrlich, LLC
                                       1123 Zonolite Road, N.E., Suite 7-B
                                       Atlanta, Georgia 30306
                                       Tel: (800) 238-3857
                                       Fax: (855) 415-2480
                                       craig@ehrlichlawoffice.com

        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich




                                         12
